                Case 2:18-cr-00315-RAJ Document 177 Filed 10/19/20 Page 1 of 1



                                              THE HONORABLE RICHARD A. JONES
 1
 2
 3
 4
 5
 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8
     UNITED STATES OF AMERICA,               )     No. CR18-315RAJ
 9                                           )
                    Plaintiff,               )
10                                           )     ORDER SEALING FINAL
           v.                                )     STATUS REPORT REGARDING
11                                           )     COURT’S ORDER ON IN CAMERA
     GIZACHEW WONDIE,                        )     REVIEW
12                                           )
                    Defendant.               )
13                                           )
14
15         THE COURT hereby SEALS the Government’s Final Status Report Regarding

16   Court’s Order on In Camera Review.

17
           DATED this 19th day of October, 2020.
18
19
20
                                                   A
                                                   The Honorable Richard A. Jones
21                                                 United States District Judge
22
23
24
25
26

      ORDER SEALING FINAL STATUS REPORT
      ON IN CAMERA REVIEW - 1
      (Gizachew Wondie; CR18-315RAJ)
